            Case 1:19-mc-00401-AT Document 3 Filed 08/29/19 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re the Application of the Fund for Protection
of Investor Rights in Foreign States pursuant to
28 U.S.C. § 1782 for an Order Granting Leave           Case No. _______________
to Obtain Discovery for Use in a Foreign
Proceeding


     DECLARATION OF ALEXANDER YANOS IN SUPPORT OF EX PARTE
APPLICATION PURSUANT TO 28 U.S.C. §1782 FOR AN ORDER GRANTING LEAVE
      TO OBTAIN DISCOVERY FOR USE IN A FOREIGN PROCEEEDING

ALEXANDER YANOS declares as follows pursuant to 28 U.S.C. § 1746:

       1.      I am a partner at Alston & Bird LLP, attorneys for Applicant the Fund for

Protection of Investor Rights in Foreign States (Applicant or the Fund). I make this Declaration

in support of the Fund’s Application pursuant to 28 U.S.C. § 1782 for an Order Granting Leave

to Obtain Discovery for Use in a Foreign Proceeding.

       2.      I attach as Exhibit 1 a true and correct copy of the April 29, 2019 Notice of

Arbitration that Applicant served on the Republic of Lithuania under the Lithuania-Russia

Bilateral Investment Treaty of 2004.

       3.      I attach as Exhibit 2 a true and correct copy of a print out of the AlixPartners

website stating that AlixPartners’ “Headquarters” is located at 909 Third Avenue, New York,

New York, 10022.

       4.      I attach as Exhibit 3 a true and correct copy of a February 23, 2015 AlixPartners

Press Release entitled “AlixPartners completes acquisition of Zolfo Cooper Europe.”




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             Case 1:19-mc-00401-AT Document 3 Filed 08/29/19 Page 2 of 3




       5.       I attach as Exhibit 4 a true and correct copy of Jim Armitage, “Simon Freakley:

The Suave Restructuring Whiz Putting Out Corporate Fires and Picking Up Millions” The

Evening Standard (March 3, 2017).

       6.       I attach as Exhibit 5 a true and correct copy of an August 2015 AlixPartners Press

Release titled “AlixPartners announces CEO succession.”

       7.       I attach as Exhibit 6 a true and correct copy of a November 17, 2011 Thomson

Reuters Update titled “4-Lithuania Insists Banks Safe After Snoras Takeover.”

       8.       I attach as Exhibit 7 a true and correct copy of the Notice of Dispute, served upon

Lithuania on May 4, 2012.

       9.       I attach as Exhibit 8 a true and correct copy of the Lithuania-Russia Bilateral

Investment Treaty of 2004.

       10.      I attach as Exhibit 9 a true and correct copy of Lithuania’s June 7, 2012

acknowledgement of receipt of the Notice of Dispute (attached as Exhibit 7).

       11.      I attach as Exhibit 10 a true and correct copy of a May 24, 2012 article from the

news website “15min.lt” entitled “Parliamentary panel rules Snoras bank nationalization was

hasty and based on shaky evidence.”

       12.      I attach as Exhibits 11 through 14 true and correct copies of proposed subpoenas

for the production of documents and to appear for deposition to be served on Mr. Freakley and

AlixPartners.

       13.      I attach as Exhibit 15 a true and correct copy of the United Nations Commission

on International Trade Law (UNCITRAL) Arbitration Rules (1976).




                                                 2
           Case 1:19-mc-00401-AT Document 3 Filed 08/29/19 Page 3 of 3




I declare under penalty of perjury that the foregoing is true and correct.

Executed on August 29, 2019 in New York, New York.


                                               /s/ Alexander Yanos
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